             Case 3:22-cr-00426-JSC Document 192-1 Filed 12/08/23 Page 1 of 2




 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2
   MARTHA BOERSCH (CABN 126569)
 3 Chief, Criminal Division

 4 HELEN L. GILBERT (NYBN 4736336)
   LAURA VARTAIN HORN (CABN 258485)
 5 Assistant United States Attorney

 6           450 Golden Gate Avenue, Box 36055
             San Francisco, California 94102-3495
 7           Telephone: (415) 436-7200
             FAX: (415) 436-7234
 8           Email: Helen.Gilbert@usdoj.gov
                    Laura.Vartain@usdoj.gov
 9
     Attorneys for United States of America
10
                                       UNITED STATES DISTRICT COURT
11
                                    NORTHERN DISTRICT OF CALIFORNIA
12
                                           SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                          ) CASE NO. 3:22-CR-426-JSC
                                                        )
15           Plaintiff,                                 ) ADMITTED TRIAL EXHIBITS 1, 2, 3, 4, 5, 6, 7, 8,
                                                        ) 10, 11, 12, 13, 295, 314, AND 316
16      v.                                              )
                                                        )
17   DAVID WAYNE DEPAPE,                                )
                                                        )
18           Defendant.                                 )
                                                        )
19

20                                    MANUAL FILING NOTIFICATION
21 Regarding: Admitted Trial Exhibits

22           This filing is in physical form only and is being maintained in the case file in the Clerk’s office.
23 For information on retrieving this filing directly from the court, please see the court’s main website at

24 http://www.cand.uscourts.gov under Frequently Asked Questions (FAQ).

25           This filing was not efiled for the following reason(s):
26           ___ Voluminous Document (PDF file size larger than efiling system allowances)
27           ___ Unable to Scan Documents
28
     MANUAL FILING NOTIFICATION FOR ADMITTED EXHIBITS
     3:22-CR-426-JSC                         1
             Case 3:22-cr-00426-JSC Document 192-1 Filed 12/08/23 Page 2 of 2




 1          ___ Physical Object (description): ________________________________

 2          __X_ Non Graphical/Textual Computer Files (audio, video, etc.) on CD or other media

 3          ___ Item Under Seal

 4          ___ Conformance with the Judicial Conference Privacy Policy (General Order 53).

 5          ___ Other (description): ______________________________________________

 6

 7 DATED: December 7, 2023                                    Respectfully Submitted,

 8
                                                             ISMAIL J. RAMSEY
 9                                                           United States Attorney
10

11
                                                             __/s/___________________________________
12                                                           HELEN L. GILBERT
                                                             LAURA VARTAIN HORN
13                                                           KYLE F. WALDINGER
                                                             Assistant United States Attorneys
14

15
                                                             JODI LINKER
16                                                           Federal Public Defender
17

18                                                           __/s/___________________________________
                                                             ANGELA CHUANG
19                                                           Assistant Federal Public Defender
                                                             Counsel for Defendant David DePape
20

21

22                                               Attestation of Filer

23          In addition to myself, the other signatories to this document are Jodi Linker and Angela Chuang.

24 I attest that I have their permission to enter a conformed signature on their behalf and to file this

25 document.

26

27 DATED: December 7, 2023                                               /s/                    ___
                                                                  HELEN L. GILBERT
28                                                                Assistant United States Attorney

     MANUAL FILING NOTIFICATION FOR ADMITTED EXHIBITS
     3:22-CR-426-JSC                         2
